        Case 1:20-cv-01814-JLT-EPG Document 143-4 Filed 02/07/23 Page 1 of 2



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 8                           UNITED STATES DISTRICT COURT
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 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
12                                                  )
12         Plaintiff,                               )
13                                                  )   [PROPOSED] ORDER GRANTING
13         v.                                       )   PLAINTIFF HOOPA VALLEY
14                                                  )   TRIBE’S MOTION FOR
14   UNITED STATES BUREAU OF                        )   PRELIMINARY INJUNCTION
15
     RECLAMATION; DEBRA ANNE HAALAND,               )
15
16   in her official capacity as Secretary of the   )
16   Interior; MARIA CAMILLE CALIMLIM               )
17   TOUTON, in her official capacity as            )
17   Commissioner of the United States Bureau of    )
18   Reclamation; ERNEST A. CONANT, in his          )
18   official capacity as United States Bureau of   )
19
     Reclamation California-Great Basin Regional    )
19   Director; and UNITED STATES                    )
20
     DEPARTMENT OF THE INTERIOR                     )
20
21                                                  )
21         Defendants.                              )
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27   [PROPOSED] ORDER GRANTING PLAINTIFF’S
     MOTION FOR PRELIMINARY INJUNCTION - 1
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          Case 1:20-cv-01814-JLT-EPG Document 143-4 Filed 02/07/23 Page 2 of 2



1            The Court has fully considered all briefs and evidence filed in support and in opposition

2    to the Motion for Preliminary Injunction. The Court finds that: (a) Plaintiff will likely succeed

33   on the merits of its Ninth Claim for Relief in its Second Amended and Supplemental Complaint

44   for Declaratory and Injunctive Relief (Dkt. #142), at issue in this motion for preliminary

55   injunction, because federal Defendants have unlawfully disregarded the statutory delegation of

66   sovereignty and right of concurrence found in CVPIA § 3406(b)(23); (b) Plaintiff will likely

 7   succeed on the merits of its Second Claim for Relief in its Second Amended and Supplemental
 7
 8   Complaint (Dkt. #142) that Defendants failed to comply with NEPA in their approval of the
 8
 9   WFV Project; (c) implementation of the Trinity River Winter Flow Variability Project will result
 9
10   in irreparable harm to the Trinity River and its fishery below Lewiston Dam and accordingly to
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11   Hoopa, as well as to Hoopa’s sovereignty; (d) the balance of hardships favors injunctive relief;
11
12   and (e) an injunction is in the public interest.
12
13           Accordingly, IT IS HEREBY ORDERED that Plaintiff’s Motion for Preliminary
13
14   Injunction is hereby GRANTED, and the Court HEREBY RESTRAINS AND ENJOINS
14
15   Defendants, and their officers, agents, employees, and any other parties, persons, or entities who
15
16   are in active concert or participation with them, from any implementation of the Trinity River
16
17   Winter Flow Variability Project in the absence of the concurrence of the Hoopa Valley Tribe and
17
18   in the absence of compliance with NEPA.
18
19           This Preliminary Injunction shall take effect immediately. The requirement for bond or
19
20   security is waived.
20
21           Dated this ______ day of February, 2023.
21
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23                                   __________________________________________
24                                   Honorable Jennifer L. Thurston
24
25                                   U.S. District Judge

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27   [PROPOSED] ORDER GRANTING PLAINTIFF’S
     MOTION FOR PRELIMINARY INJUNCTION - 2
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